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AO 91 (Rev. 11/11) Criminal Complaint                                                                             F       I   L_    E     E

                                     UNITED STATES DISTRICT COURT                                                     OCT 152019
                                                                    for the
                                                                                                           CLERK. U.S.             QSTARICT   COURT
                                                       Western District of Texas                           WESTERN        D*1J
                                                                                                                           L.A.'
                                                                                                                                 OF TEXAS

                  United States of America                             )
                                                                                                                               DEPUTY CLERK
                               V.

         Victor Daniel HERNANDEZ-Velasquez
                                                                       )

                                                                       )

                                                                       )
                                                                              Case No.     )-i _q,i-(
                                                                       )

                                                                       )

                                                                       )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best     of my knowledge and belief.
On or about the date(s) of                   October 11, 2019                 in the county of              Val Verde                   in the
       Western         District of             Texas            ,   the defendant(s) violated:

            Code Section                                                         Offense Description
Title 8 U.S. Code § 1324(a)(1)(A)(v)            Knowingly and intentionally combine, conspire, confederate and agree with
(I) & (B)(i)                                    others known and unknown to transport three undocumented illegal aliens by
                                                means of a vehicle within the Western District of Texas in knowing or
                                                reckless disregard of the fact that said alien had come to, entered, or
                                                remained in the united States in violation of law, and transported or moved
                                                said alien within the United States by means of a vehicle or otherwise.



          This criminal complaint is based on these facts:
See Attachment "A"




           ( Continued on the attached sheet.


                                                                                                 Co    laant 's signature
                                                                                         Allan C n 4, HSI Special Agent
                                                                                                  I  name and title

Sworn to before me and signed in my presence.


Date              10/15/2019
                                                                                                      udge 's signature

City and state:                          Del Rio, Texas                                Victor Garci    U.S. Magistrate Judge
                                                                                                       ,

                                                                                                 Prin?ed name and title
          Case 2:19-mj-08916-VRG Document 1 Filed 10/15/19 Page 2 of 2
                                                                      Tt_1cL.    &rn-t

                                       Attachment "A"

On October 11, 2019, United States Customs and Border ProtectionlOffice of Border Patrol
(CBP/OBP) agents were conducting immigration inspections at T-501 tactical checkpoint near
Del Rio, Texas on TX FM 2523 when they observed a white GMC Sierra briefly approach the
checkpoint. The vehicle then made a sudden U-turn, prior to entering primary inspection, and
quickly drove away.
CBP/OBP agents attempted to follow the vehicle when it came to a sudden stop and all four
occupants absconded on foot. CBP/OBP agents gave chase and apprehended all subjects. One
of the subjects, Victor Daniel HERNANDEZ-Velasquez, was identified as the driver of the
vehicle. The three remaining occupants were identified as undocumented aliens from the
Republic of Mexico, unlawfully present in the United States.
During post-Miranda interview, HERNANDEZ-Velasquez stated he knew that the subjects he
was transporting in the vehicle were undocumented aliens from Mexico. HERNANDEZ-
Velasquez stated he had agreed to transport the undocumented aliens from an area near Del Rio,
Texas to Rocksprings, Texas.
